Case 2:24-cv-00757-JRG   Document 35-12 Filed 11/25/24   Page 1 of 3 PageID #:
                                    1066




                              EXHIBIT 
            Case
I IIIIIIII IIII       2:24-cv-00757-JRG
                Ill 11111111111111111 1111111       Document 35-12       Filed 11/25/24
                                                               11111111111111111                    Page
                                                                                 IIIII 111111111111111      2 oflllll
                                                                                                       1111111111 3 PageID      #: 11111111
                                                                                                                      111111111111111




                                                                                                                                               B2425-6806 01/18/2024 8:41 PM Received by California Secretary of State
                                                               1067                                                     %$

                            67$7( 2) &$/,)251,$                                                                   For Office Use Only
                            2IILFH RI WKH 6HFUHWDU\RI 6WDWH
                            67$7(0(17 2) ,1)250$7,21                                                               -FILED-
                            /,0,7(' /,$%,/,7< &203$1<
                            &DOLIRUQLD 6HFUHWDU\RI 6WDWH                                                 File No.: BA20240115173
                             WK 6WUHHW                                                              Date Filed: 1/18/2024
                            6DFUDPHQWR &DOLIRUQLD 
                              



   (QWLW\ 'HWDLOV
     /LPLWHG /LDELOLW\ &RPSDQ\ 1DPH                                      $1-$<
                                                                            $ 9(1785( 3$571(56
                                                                                      3 571(56 //&
                                                                                      3$
     (QWLW\ 1R                                                          
     )RUPHG ,Q                                                           &$/,)251,$
   6WUHHW $GGUHVV RI 3ULQFLSDO 2IILFH RI //&
     3ULQFLSDO $GGUHVV                                                    323/$5 *529( 648$5(
                                                                         &83(57,12 &$
                                                                                    & 
   0DLOLQJ $GGUHVV RI //&
     0DLOLQJ $GGUHVV                                                      323/$5 *529( 648$5(
                                                                         &83(57,12 &$ 
     $WWHQWLRQ
   6WUHHW $GGUHVV RI &DOLIRUQLD 2IILFH RI //&
     6WUHHW $GGUHVV RI &DOLIRUQLD 2IILFH                                  323/$5 *529( 648$5(
                                                                         &83(57,12 &$ 
   0DQDJHU V RU 0HPEHU V

                              0DQDJHU RU 0HPEHU 1DPH                                        0DQDJHU RU 0HPEHU $GGUHVV

      'HHSDN .XPDU 6KDUPD                                                 3RSODU *URYH 6TXDUH
                                                                         &XSHUWLQR &$ 


   $JHQW IRU 6HUYLFH RI 3URFHVV
     $JHQW 1DPH                                                          '((3$. .80$5 6+$50$
     $JHQW $GGUHVV                                                        323/$5 *529( 648$5(
                                                                         &83(57,12 &$ 
   7\SH RI %XVLQHVV
     7\SH RI %XVLQHVV                                                    0$1$*(0(17 &2168/7,1*
   (PDLO 1RWLILFDWLRQV
     2SWLQ (PDLO 1RWLILFDWLRQV                                          <HV , RSWLQ WR UHFHLYH HQWLW\ QRWLILFDWLRQV YLD HPDLO
   &KLHI ([HFXWLYH 2IILFHU &(2

                                      &(2 1DPH                                                     &(2 $GGUHVV

      'HHSDN .XPDU 6KDUPD                                                 3RSODU *URYH 6TXDUH
                                                                         &XSHUWLQR
                                                                         &XSHUW
                                                                             U LQR &$
                                                                                    & 


   /DERU -XGJPHQW
     1R 0DQDJHU RU 0HPEHU DVIXUWKHU GHILQHG E\&DOLIRUQLD &RUSRUDWLRQV&RGH VHFWLRQ  D   KDVDQ
     RXWVWDQGLQJ ILQDO MXGJPHQW LVVXHG E\WKH 'LYLVLRQ RI /DERU 6WDQGDUGV(QIRUFHPHQW RU D FRXUW RI ODZ IRU ZKLFK QR
     DSSHDO LVSHQGLQJ IRU WKH YLRODWLRQ RI DQ\ZDJH RUGHU RU SURYLVLRQ RI WKH /DERU &RGH




                                                                                                                                        Page 1 of 2
       Case 2:24-cv-00757-JRG                 Document 35-12 Filed 11/25/24                       Page 3 of 3 PageID #:




                                                                                                                                           B2425-6807 01/18/2024 8:41 PM Received by California Secretary of State
                                                         1068
(OHFWURQLF6LJQDWXUH
 181
       %\VLJQLQJ,DIILUPXQGHUSHQDOW\RISHUMXU\WKDWWKHLQIRUPDWLRQKHUHLQLVWUXHDQGFRUUHFWDQGWKDW,DPDXWKRUL]HGE\
       &DOLIRUQLDODZWRVLJQ


  'HHSDN.XPDU6KDUPD                                                  
  6LJQDWXUH                                                            'DWH




                                                                                                                                    Page 2 of 2
